      2:22-cv-01851-RMG          Date Filed 06/17/22       Entry Number 6       Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION
                                    IN ADMIRALTY

  PLATINA BULK CARRIERS PTE LTD,                  )      Civil Action No.: 2:22-cv-1851-RMG
                                                  )
                    Plaintiff,                    )
                                                  )      SUMMONS AND PROCESS OF
                       vs.                        )     MARITIME ATTACHMENT AND
                                                  )   GARNISHMENT THE PRESIDENT OF
    PRAXIS ENERGY AGENTS DMCC,                    )   THE UNITED STATES OF AMERICA
   PRAXIS ENERGY AGENTS LLC, and                  )
   PRAXIS ENERGY AGENTS PTE LTD.                  )
                                                  )
                  Defendants.                     )



TO: SPECIALLY APPOINTED PROCESS SERVER

GREETINGS:

        WHEREAS, on the 12th day of June 2022, Plaintiff filed a Verified Complaint against
Defendants PRAXIS ENERGY AGENTS DMCC, PRAXIS ENERGY AGENTS LLC, and
PRAXIS ENERGY AGENTS PTE LTD. For the reasons in said Verified Complaint mentioned
for the sum of US $415,807.90 and praying for process of maritime attachment and garnishment
against the said Defendants attaching property believed to be in the hands of Cooper & Bilbrey
P.C., and/or its bank, as garnishee; and

        WHEREAS, this process is issued pursuant to such prayer and requires that a garnishee
shall serve his answer within twenty-one (21) days after service of process upon it and requires
that a defendants shall serve their answer within thirty (30) days after process has been executed,
whether by attachment of property or service on the garnishee,

        NOW, THEREFORE, you are hereby commanded that if the said Defendants cannot be
found within the District, you attach their goods, chattels, credits, freights, fsub-freights, funds,
and effects located and to be found at Cooper & Bilbrey P.C., (1476 Ben Sawyer Blvd #11, Mt
Pleasant, SC 29464) and described as follows: payments and/or credits due and owing to PRAXIS
ENERGY AGENTS DMCC, PRAXIS ENERGY AGENTS LLC, and/or PRAXIS ENERGY
AGENTS PTE LTD., in the hands of Cooper & Bilbrey P.C, or its banking institutions, the
garnishees, up to the amount sued for, to-wit: US $415,807.90 and how you shall have executed
this process, make known to this Court with your certificate of execution thereof written.
      2:22-cv-01851-RMG         Date Filed 06/17/22      Entry Number 6    Page 2 of 2




WITNESS THE HONORABLE



               s/Richard Mark Gergel
              ____________________________________
              United States District Judge
              in said District, this 17th day of June, 2022.




                 Robin L. Blume
              ___________________________________, CLERK

                    s/S. Shealy
              BY: _______________________

              Deputy Clerk

NOTE: This process is issued pursuant to Rule B(1) of the Supplemental Rules for Certain
     Admiralty and Maritime Claims of the Federal Rules of Civil Procedure.
